                 Case 2:20-cv-09582-JFW-E Document 371 Filed 08/05/22 Page 1 of 40 Page ID #:31243




                                     FINAL JOINT TRIAL WITNESS ESTIMATE FORM

CASE: Bryant v. Cnty. of Los Angeles, Case No. 2:20-cv-09582-JFW-E                       TRIAL DATE: August 10, 2022
    (c/w Chester v. Cnty. of Los Angeles, Case No. 2:20-cv-10844-JFW-E)

       WITNESS NAME         PARTY CALLING           X-EXAMINER’S                DESCRIPTION OF                 COMMENTS
                             WITNESS AND              ESTIMATE                    TESTIMONY
                              ESTIMATE
 1     Pelinka, Rob       Plaintiffs | 45 mins.   Defendants | 30 mins.   Plaintiffs’ description:
       (In Person)                                                        Observations on the day of the
                                                                          accident and Mrs. Bryant’s
                                                                          emotional distress.
                                                                          Defendants’ description: Has
                                                                          never seen crash site photos
                                                                          depicting Plaintiff Bryant’s
                                                                          relatives; has never been told by
                                                                          Plaintiff Bryant that she has seen
                                                                          crash site photos depicting her
                                                                          relatives, and is not aware of any
                                                                          crash site photo depicting
                                                                          Plaintiff Bryant’s relatives that
                                                                          has been publicly disseminated.




1
                Case 2:20-cv-09582-JFW-E Document 371 Filed 08/05/22 Page 2 of 40 Page ID #:31244




      WITNESS NAME        PARTY CALLING            X-EXAMINER’S                DESCRIPTION OF                COMMENTS
                           WITNESS AND               ESTIMATE                    TESTIMONY
                            ESTIMATE
2     Katz, David        Plaintiffs | 45 mins.   Defendants | 30 mins.   Plaintiffs’ description:
      (In Person)                                                        Observations of crash site,
                                                                         conversations with Defendants’
                                                                         employees regarding photos
                                                                         taken, and lack of training.
                                                                         Defendants’ description: Never
                                                                         received or publicly
                                                                         disseminated crash site photos.
3     Tauscher, Emily    Plaintiffs | 60 mins.   Defendants | 30 mins.   30(b)(6) witness testimony
      (In Person)                                                        concerning location and
                                                                         condition of human remains at
                                                                         the crash site, the manner in
                                                                         which Plaintiff’s loved ones’
                                                                         remains could be identified, and
                                                                         the absence of a request from the
                                                                         Coroner’s Office for photographs
                                                                         from LACFD or LASD.




-2-
                 Case 2:20-cv-09582-JFW-E Document 371 Filed 08/05/22 Page 3 of 40 Page ID #:31245




      WITNESS NAME         PARTY CALLING            X-EXAMINER’S                DESCRIPTION OF                COMMENTS
                            WITNESS AND               ESTIMATE                    TESTIMONY
                             ESTIMATE
4     Gutierrez, Victor   Plaintiffs | 60 mins.   Defendants | 15 mins.   Plaintiffs’ description:
      (In Person)                                                         Observations of Joey Cruz
                                                                          displaying photos of victims’
                                                                          remains at bar; conversations
                                                                          with Joey Cruz regarding the
                                                                          photos and absence of discipline.
                                                                          Defendants’ description: Was
                                                                          not sent crash site photos by
                                                                          Deputy Cruz.




-3-
                Case 2:20-cv-09582-JFW-E Document 371 Filed 08/05/22 Page 4 of 40 Page ID #:31246




      WITNESS NAME         PARTY CALLING            X-EXAMINER’S                DESCRIPTION OF              COMMENTS
                            WITNESS AND               ESTIMATE                    TESTIMONY
                             ESTIMATE
5     Mendez, Ralph Jr.   Plaintiffs | 60 mins.   Defendants | 15 mins.   Plaintiffs’ description:
      (In Person)                                                         Observations at bar where Joey
                                                                          Cruz displayed photos of
                                                                          victims’ remains, submitting
                                                                          complaint to LASD, and
                                                                          interactions with Sheriff’s
                                                                          Department following complaint.
                                                                          Defendants’ description: Never
                                                                          saw or received any crash site
                                                                          photos; and has no personal
                                                                          knowledge of what was in the
                                                                          photos shown by Deputy Cruz to
                                                                          Mr. Gutierrez.




-4-
                Case 2:20-cv-09582-JFW-E Document 371 Filed 08/05/22 Page 5 of 40 Page ID #:31247




      WITNESS NAME        PARTY CALLING            X-EXAMINER’S                DESCRIPTION OF               COMMENTS
                           WITNESS AND               ESTIMATE                    TESTIMONY
                            ESTIMATE
6     Weireter, Luella   Plaintiffs | 30 mins.   Defendants | 15 mins.   Plaintiffs’ description:
      (In Person)                                                        Observation of Tony Imbrenda’s
                                                                         display of photos of victims’
                                                                         remains at Golden Mike Awards,
                                                                         statements by Defendants’
                                                                         employees, and reactions to
                                                                         display; submitting complaint to
                                                                         Fire Department.
                                                                         Defendants’ description: Never
                                                                         saw or received any crash site
                                                                         photos; and has no personal
                                                                         knowledge of what was in the
                                                                         photos shown by Firefighter
                                                                         Specialist Tony Imbrenda at the
                                                                         2020 Golden Mike Awards.




-5-
                Case 2:20-cv-09582-JFW-E Document 371 Filed 08/05/22 Page 6 of 40 Page ID #:31248




7     Bercovici, Adam    Plaintiffs | 150 mins.   Defendants | 60 mins.   Plaintiffs’ description: Expert:
      (In Person)                                                         public safety officers’ practices
                                                                          regarding remains photos are
                                                                          well known; no legitimate
                                                                          purpose for deputies to take and
                                                                          share photos of remains; LASD
                                                                          investigation and failure to
                                                                          preserve deviated significantly
                                                                          from investigative standards and
                                                                          compromised confidence in
                                                                          investigation findings.
                                                                          Defendants’ description:
                                                                          Bercovici has never worked for
                                                                          or attended any trainings
                                                                          conducted by the County, LASD,
                                                                          or LACFD; never conducted or
                                                                          participated in a LASD or
                                                                          LACFD internal investigation;
                                                                          has no knowledge of LASD’s or
                                                                          LACFD’s internal policies; and
                                                                          is not aware of any instances of
                                                                          LASD or LACFD personnel
                                                                          improperly taking or sharing
                                                                          crash scene photos.


-6-
                Case 2:20-cv-09582-JFW-E Document 371 Filed 08/05/22 Page 7 of 40 Page ID #:31249




      WITNESS NAME        PARTY CALLING            X-EXAMINER’S                DESCRIPTION OF                COMMENTS
                           WITNESS AND               ESTIMATE                    TESTIMONY
                            ESTIMATE
8     Johnson, Doug      Plaintiffs | 60 mins.   Defendants | 60 mins.   Plaintiffs’ description:
      (In Person)                                                        Observations at the crash site,
                                                                         the taking and sharing of photos
                                                                         of the crash site and victims’
                                                                         bodies, the contents of those
                                                                         photos, cell phone records,
                                                                         experience with human remains,
                                                                         participation in LASD and
                                                                         LAFD investigations, and
                                                                         training received.
                                                                         Defendants’ description: Never
                                                                         publicly disseminated crash site
                                                                         photos; deleted the crash site
                                                                         photos in January 2020; and the
                                                                         deletion of the crash site photos
                                                                         was confirmed by the Internal
                                                                         Affairs Bureau investigation.




-7-
                Case 2:20-cv-09582-JFW-E Document 371 Filed 08/05/22 Page 8 of 40 Page ID #:31250




      WITNESS NAME        PARTY CALLING            X-EXAMINER’S                DESCRIPTION OF                 COMMENTS
                           WITNESS AND               ESTIMATE                    TESTIMONY
                            ESTIMATE
9     Beard, Kelli       Plaintiffs | 20 mins.   Defendants | 10 mins.   Plaintiffs’ description: Brian
      (In Person)                                                        Jordan’s display and possession
                                                                         of photos of deceased victim
                                                                         remains.
                                                                         Defendants’ description:
                                                                         Defendants have objected to Ms.
                                                                         Beard testifying at trial. If
                                                                         allowed to testify, Ms. Beard will
                                                                         say that Mr. Jordan never
                                                                         showed or sent her crash site
                                                                         photos depicting Plaintiffs’
                                                                         relatives, and that the incident
                                                                         wherein she alleges Mr. Jordan
                                                                         showed her photos from a
                                                                         separate, unrelated incident
                                                                         occurred more than 20 years ago.




-8-
                Case 2:20-cv-09582-JFW-E Document 371 Filed 08/05/22 Page 9 of 40 Page ID #:31251




      WITNESS NAME        PARTY CALLING            X-EXAMINER’S                DESCRIPTION OF                 COMMENTS
                           WITNESS AND               ESTIMATE                    TESTIMONY
                            ESTIMATE
10    Jordan, Brian      Plaintiffs | 60 mins.   Defendants | 60 mins.   Plaintiffs’ description:
      (In Person)                                                        Observations at the crash site,
                                                                         the taking and sharing of photos
                                                                         at the crash site, the contents of
                                                                         those photos, actions following
                                                                         the day of the crash, cell phone
                                                                         records, experience with human
                                                                         remains, participation in LACFD
                                                                         investigation, and training
                                                                         received.
                                                                         Defendants’ description: Never
                                                                         publicly disseminated crash site
                                                                         photos; and deleted the crash site
                                                                         photos in January 2020.




-9-
                 Case 2:20-cv-09582-JFW-E Document 371 Filed 08/05/22 Page 10 of 40 Page ID #:31252




       WITNESS NAME         PARTY CALLING           X-EXAMINER’S                DESCRIPTION OF               COMMENTS
                             WITNESS AND              ESTIMATE                    TESTIMONY
                              ESTIMATE
11     Versales, Raul     Plaintiffs | 45 mins.   Defendants | 45 mins.   Plaintiffs’ description: Actions
       (In Person)                                                        and observations on the day of
                                                                          the crash, receipt of photos,
                                                                          content of photos he received,
                                                                          actions following the day of the
                                                                          crash, instructions from
                                                                          supervisors, cell phone records,
                                                                          experience with human remains,
                                                                          participation in LASD
                                                                          investigation, and training
                                                                          received.
                                                                          Defendants’ description: Never
                                                                          publicly disseminated crash site
                                                                          photos; deleted the crash site
                                                                          photos he received in January
                                                                          2020; and the deletion of the
                                                                          crash site photos was confirmed
                                                                          by the Internal Affairs Bureau
                                                                          investigation.




-10-
                 Case 2:20-cv-09582-JFW-E Document 371 Filed 08/05/22 Page 11 of 40 Page ID #:31253




       WITNESS NAME         PARTY CALLING           X-EXAMINER’S                DESCRIPTION OF               COMMENTS
                             WITNESS AND              ESTIMATE                    TESTIMONY
                              ESTIMATE
12     Mejia, Rafael      Plaintiffs | 45 mins.   Defendants | 45 mins.   Plaintiffs’ description: Actions
       (In Person)                                                        and observations on the day of
                                                                          the crash, receipt of photos,
                                                                          content of photos he received,
                                                                          actions following the day of the
                                                                          crash, instructions from
                                                                          supervisors, cell phone records,
                                                                          experience with human remains,
                                                                          participation in LASD
                                                                          investigation, and training
                                                                          received.
                                                                          Defendants’ description: Never
                                                                          publicly disseminated crash site
                                                                          photos; deleted the crash site
                                                                          photos he received in January
                                                                          2020; and the deletion of the
                                                                          crash site photos was confirmed
                                                                          by the Internal Affairs Bureau
                                                                          investigation.




-11-
                 Case 2:20-cv-09582-JFW-E Document 371 Filed 08/05/22 Page 12 of 40 Page ID #:31254




       WITNESS NAME         PARTY CALLING           X-EXAMINER’S                DESCRIPTION OF               COMMENTS
                             WITNESS AND              ESTIMATE                    TESTIMONY
                              ESTIMATE
13     Cruz, Joey         Plaintiffs | 60 mins.   Defendants | 60 mins.   Plaintiffs’ description: Actions
       (In Person)                                                        and observations on the day of
                                                                          the crash, receipt of photos,
                                                                          content of photos he received,
                                                                          actions following the day of the
                                                                          crash, instructions from
                                                                          supervisors, cell phone records,
                                                                          experience with human remains,
                                                                          participation in LASD
                                                                          investigation, and training
                                                                          received.
                                                                          Defendants’ description: Never
                                                                          publicly disseminated crash site
                                                                          photos; deleted the crash site
                                                                          photos he received in January
                                                                          2020; and the deletion of the
                                                                          crash site photos was confirmed
                                                                          by the Internal Affairs Bureau
                                                                          investigation.




-12-
                 Case 2:20-cv-09582-JFW-E Document 371 Filed 08/05/22 Page 13 of 40 Page ID #:31255




       WITNESS NAME         PARTY CALLING           X-EXAMINER’S                DESCRIPTION OF               COMMENTS
                             WITNESS AND              ESTIMATE                    TESTIMONY
                              ESTIMATE
14     Russell, Michael   Plaintiffs | 45 mins.   Defendants | 45 mins.   Plaintiffs’ description: Actions
       (In Person)                                                        and observations on the day of
                                                                          the crash, receipt of photos,
                                                                          content of photos he received,
                                                                          actions following the day of the
                                                                          crash, instructions from
                                                                          supervisors, cell phone records,
                                                                          experience with human remains,
                                                                          participation in LASD
                                                                          investigation, and training
                                                                          received.
                                                                          Defendants’ description: Never
                                                                          publicly disseminated crash site
                                                                          photos; deleted the crash site
                                                                          photos he received in January
                                                                          2020; and the deletion of the
                                                                          crash site photos was confirmed
                                                                          by the Internal Affairs Bureau
                                                                          investigation.




-13-
                 Case 2:20-cv-09582-JFW-E Document 371 Filed 08/05/22 Page 14 of 40 Page ID #:31256




       WITNESS NAME         PARTY CALLING           X-EXAMINER’S                DESCRIPTION OF               COMMENTS
                             WITNESS AND              ESTIMATE                    TESTIMONY
                              ESTIMATE
15     Sanchez, Ben       Plaintiffs | 45 mins.   Defendants | 30 mins.   Plaintiffs’ description: Actions
       (In Person)                                                        and observations on the day of
                                                                          the crash, receipt of photos,
                                                                          content of photos he received,
                                                                          actions following the day of the
                                                                          crash, instructions from
                                                                          supervisors, cell phone records,
                                                                          experience with human remains,
                                                                          participation in LASD
                                                                          investigation, and training
                                                                          received.
                                                                          Defendants’ description: Never
                                                                          publicly disseminated crash site
                                                                          photos; deleted the crash site
                                                                          photos he received in January
                                                                          2020; and the deletion of the
                                                                          crash site photos was confirmed
                                                                          by the Internal Affairs Bureau
                                                                          investigation.




-14-
                 Case 2:20-cv-09582-JFW-E Document 371 Filed 08/05/22 Page 15 of 40 Page ID #:31257




       WITNESS NAME         PARTY CALLING           X-EXAMINER’S                DESCRIPTION OF               COMMENTS
                             WITNESS AND              ESTIMATE                    TESTIMONY
                              ESTIMATE
16     Miller, Scott      Plaintiffs | 30 mins.   Defendants | 30 mins.   Plaintiffs’ description: Actions
       (In Person)                                                        and observations on the day of
                                                                          the crash, receipt of photos,
                                                                          content of photos he received,
                                                                          actions following the day of the
                                                                          crash, instructions from
                                                                          supervisors, cell phone records,
                                                                          experience with human remains,
                                                                          participation in LASD
                                                                          investigation, and training
                                                                          received.
                                                                          Defendants’ description: Never
                                                                          publicly disseminated crash site
                                                                          photos; deleted the crash site
                                                                          photos he received in January
                                                                          2020; and the deletion of the
                                                                          crash site photos was confirmed
                                                                          by the Internal Affairs Bureau
                                                                          investigation.




-15-
                 Case 2:20-cv-09582-JFW-E Document 371 Filed 08/05/22 Page 16 of 40 Page ID #:31258




       WITNESS NAME         PARTY CALLING           X-EXAMINER’S                DESCRIPTION OF               COMMENTS
                             WITNESS AND              ESTIMATE                    TESTIMONY
                              ESTIMATE
17     Cable, Ruby        Plaintiffs | 30 mins.   Defendants | 30 mins.   Plaintiffs’ description: Actions
       (In Person)                                                        and observations on the day of
                                                                          the crash, receipt of photos,
                                                                          content of photos she received,
                                                                          actions following the day of the
                                                                          crash, instructions from
                                                                          supervisors, cell phone records,
                                                                          experience with human remains,
                                                                          participation in LASD
                                                                          investigation, and training
                                                                          received.
                                                                          Defendants’ description: Never
                                                                          publicly disseminated crash site
                                                                          photos; deleted the crash site
                                                                          photos she received in January
                                                                          2020; and the deletion of the
                                                                          crash site photos was confirmed
                                                                          by the Internal Affairs Bureau
                                                                          investigation.




-16-
                 Case 2:20-cv-09582-JFW-E Document 371 Filed 08/05/22 Page 17 of 40 Page ID #:31259




       WITNESS NAME         PARTY CALLING            X-EXAMINER’S                DESCRIPTION OF               COMMENTS
                             WITNESS AND               ESTIMATE                    TESTIMONY
                              ESTIMATE
18     Bonelli, Nicholas   Plaintiffs | 30 mins.   Defendants | 15 mins.   Plaintiffs’ description:
       (In Person)                                                         Communications with
                                                                           representatives of Bryant family
                                                                           and LASD personnel on day of
                                                                           the accident and observations
                                                                           regarding possession and display
                                                                           of photos of human remains from
                                                                           crash site.
                                                                           Defendants’ description: Never
                                                                           received or publicly
                                                                           disseminated crash site photos.




-17-
                 Case 2:20-cv-09582-JFW-E Document 371 Filed 08/05/22 Page 18 of 40 Page ID #:31260




       WITNESS NAME         PARTY CALLING           X-EXAMINER’S                DESCRIPTION OF                 COMMENTS
                             WITNESS AND              ESTIMATE                    TESTIMONY
                              ESTIMATE
19     Vander Horck,      Plaintiffs | 45 mins.   Defendants | 15 mins.   Plaintiffs’ description: LASD
       Matthew                                                            initial response to citizen
       (In Person)                                                        complaint, concerns about order
                                                                          to delete photographs, transfer
                                                                          and demotion, and
                                                                          communications with LACFD
                                                                          about firefighter involvement in
                                                                          taking and sharing victim photos.
                                                                          Defendants’ description: Never
                                                                          received or publicly
                                                                          disseminated crash site photos;
                                                                          and that he was not transferred
                                                                          from the Malibu/Lost Hills
                                                                          Station to Men’s Central Jail as a
                                                                          result of the response to the
                                                                          January 26, 2020 or expressing
                                                                          concerns about how the crash
                                                                          site photos were being handled
                                                                          by LASD.




-18-
                 Case 2:20-cv-09582-JFW-E Document 371 Filed 08/05/22 Page 19 of 40 Page ID #:31261




       WITNESS NAME         PARTY CALLING           X-EXAMINER’S                 DESCRIPTION OF                COMMENTS
                             WITNESS AND              ESTIMATE                     TESTIMONY
                              ESTIMATE
20     Mancinas, Hector   Plaintiffs | 30 mins.   Defendants | 30 mins.   Plaintiffs’ description:
       (In Person)                                                        Discussions related to the
                                                                          Sheriff’s deletion order, actions
                                                                          to carry out the order, steps he
                                                                          took to review and preserve cell
                                                                          phones of LASD personnel, and
                                                                          the issuance of performance log
                                                                          entries.
                                                                          Defendants’ description:
                                                                          LASD’s investigation into the
                                                                          crash site photos; and deputies’
                                                                          deletion of the crash site photos.




-19-
                 Case 2:20-cv-09582-JFW-E Document 371 Filed 08/05/22 Page 20 of 40 Page ID #:31262




       WITNESS NAME         PARTY CALLING           X-EXAMINER’S                DESCRIPTION OF                 COMMENTS
                             WITNESS AND              ESTIMATE                    TESTIMONY
                              ESTIMATE
21     Valdez, Jorge      Plaintiffs | 30 mins.   Defendants | 30 mins.   Plaintiffs’ description: Sheriff’s
       (In Person)                                                        deletion order, collection of
                                                                          surveillance footage from
                                                                          Norwalk bar, investigatory steps
                                                                          taken in response to the citizen
                                                                          complaint, and statements to the
                                                                          Los Angeles Times regarding the
                                                                          citizen complaint and LASD’s
                                                                          response.
                                                                          Defendants’ description: Never
                                                                          received or publicly
                                                                          disseminated crash site photos;
                                                                          the Sheriff acted quickly to
                                                                          ensure the crash site photos were
                                                                          never publicly disseminated; and
                                                                          LASD took steps to ensure the
                                                                          investigation into the crash site
                                                                          photos was thorough and
                                                                          complete.




-20-
                 Case 2:20-cv-09582-JFW-E Document 371 Filed 08/05/22 Page 21 of 40 Page ID #:31263




       WITNESS NAME         PARTY CALLING           X-EXAMINER’S                 DESCRIPTION OF                COMMENTS
                             WITNESS AND              ESTIMATE                     TESTIMONY
                              ESTIMATE
22     Jaeger, William    Plaintiffs | 30 mins.   Defendants | 60 mins.   Plaintiffs’ description: LASD’s
       (In Person)                                                        failure adequately to investigate
                                                                          the misconduct and failure to
                                                                          preserve related evidence.
                                                                          Defendants’ description: The
                                                                          Internal Affairs Bureau
                                                                          investigation and LASD’s
                                                                          discipline of its personnel
                                                                          relating to the crash site photos.




-21-
                 Case 2:20-cv-09582-JFW-E Document 371 Filed 08/05/22 Page 22 of 40 Page ID #:31264




       WITNESS NAME         PARTY CALLING           X-EXAMINER’S                  DESCRIPTION OF               COMMENTS
                             WITNESS AND              ESTIMATE                      TESTIMONY
                              ESTIMATE
23     Freskos, David1    Plaintiffs | 30 mins.   Defendants | 30 mins.2 Plaintiffs’ description: Plaintiffs
       (In Person)                                                       anticipate calling Mr. Freskos in
                                                                         their rebuttal case to respond to
                                                                         and contextualize evidence
                                                                         regarding Defendants’
                                                                         investigation, preservation, and
                                                                         forensic analysis, including
                                                                         testimony by Justin Price.
                                                                           Defendants’ description: Mr.
                                                                           Freskos will testify that he did
                                                                           not conduct a forensic
                                                                           examination of any electronic
                                                                           devices in this case; that he has
                                                                           no criticisms of the forensic
                                                                           examination conducted by Kroll
                                                                           and Mr. Price; and that he has no
                                                                           knowledge of LASD’s or
                                                                           LACFD’s internal policies
                                                                           relating to investigations.




-22-
                      Case 2:20-cv-09582-JFW-E Document 371 Filed 08/05/22 Page 23 of 40 Page ID #:31265




           WITNESS NAME            PARTY CALLING               X-EXAMINER’S                   DESCRIPTION OF             COMMENTS
                                    WITNESS AND                  ESTIMATE                       TESTIMONY
                                     ESTIMATE
 24        Pikor, Thomas         Plaintiffs | 45 mins.      Defendants | 15 mins.3 Plaintiffs’ description: Summary
           (In Person)                                                             testimony related to County
                                                                                   employee cell records and other
                                                                                   admitted evidence, including
                                                                                   phone and text messaging
                                                                                   activity (or the absence thereof);
                                                                                   identification of individuals
                                                                                   associated with phone numbers.
                                                                                       Defendants’ description:
                                                                                       Defendants have objected to Mr.
                                                                                       Pikor testifying at trial.



   1
       Plaintiffs reserve the right to call Freskos in their rebuttal case instead of their case-in-chief.
   2
    Defendants object to Mr. Freskos testifying as a rebuttal expert. He was not designated as a rebuttal expert. Defendants
have never been provided with a rebuttal expert report by Mr. Freskos. And Plaintiffs’ Offer of Proof for Mr. Freskos did not
identify any rebuttal opinions.
   3
    Defendants object to Mr. Pikor testifying at trial. He is not a percipient witness. Mr. Pikor was also never disclosed as an
expert witness pursuant to Federal Rule of Civil Procedure 26(a)(2) by Plaintiff. Plaintiffs have never provided Defendants


-23-
                   Case 2:20-cv-09582-JFW-E Document 371 Filed 08/05/22 Page 24 of 40 Page ID #:31266




        WITNESS NAME           PARTY CALLING             X-EXAMINER’S                 DESCRIPTION OF               COMMENTS
                                WITNESS AND                ESTIMATE                     TESTIMONY
                                 ESTIMATE
 25     Imbrenda, Tony       Plaintiffs | 45 mins.    Defendants | 45 mins.    Plaintiffs’ description: Actions
        (In Person)                                                            and observations on the day of
                                                                               the crash, taking and receipt of
                                                                               photos, content of photos he
                                                                               received, actions following the
                                                                               day of the crash, instructions
                                                                               from supervisors, cell phone
                                                                               records, experience with human
                                                                               remains, participation in LACFD
                                                                               investigation, and training
                                                                               received.
                                                                               Defendants’ description: Did not
                                                                               publicly disseminate crash site
                                                                               photos.




with a report for Mr. Pikor; nor have they disclosed his sources, methodology, or qualifications. Mr. Pikor’s testimony also
lacks foundation, is based on unknown sources, and is hearsay not subject to any application exception.
-24-
                   Case 2:20-cv-09582-JFW-E Document 371 Filed 08/05/22 Page 25 of 40 Page ID #:31267




         WITNESS NAME           PARTY CALLING              X-EXAMINER’S                  DESCRIPTION OF                COMMENTS
                                 WITNESS AND                 ESTIMATE                      TESTIMONY
                                  ESTIMATE
 26     Scott, Erik           Plaintiffs | 30 mins.     Defendants | 15 mins.     Plaintiffs’ description:
        (In Person)                                                               Observation of Imbrenda’s
                                                                                  display of photos of victim
                                                                                  remains at Golden Mike Awards.
                                                                                  Defendants’ description: Never
                                                                                  received crash site photos or
                                                                                  publicly disseminated them.
 27     Cornell, Sky          Plaintiffs | 30 mins.     Defendants | 15 mins.4 Plaintiffs’ description: Actions
        (In Person)                                                            and observations on the day of
                                                                               the crash; LACFD’s response to
                                                                               the crash; photos shown to him
                                                                               by Tony Imbrenda at the Golden
                                                                               Mike Awards; and participation
                                                                               in LACFD’s investigation.
                                                                                  Defendants’ description: Never
                                                                                  received crash site photos or
                                                                                  publicly disseminated them.



   4
     Defendants object to Plaintiffs calling Mr. Cornell as a witness. Defendants did not list Mr. Cornell on their witness list.
(See Dkt. 233.)
-25-
                 Case 2:20-cv-09582-JFW-E Document 371 Filed 08/05/22 Page 26 of 40 Page ID #:31268




       WITNESS NAME         PARTY CALLING           X-EXAMINER’S                DESCRIPTION OF                 COMMENTS
                             WITNESS AND              ESTIMATE                    TESTIMONY
                              ESTIMATE
28     Kahan, Arlin       Plaintiffs | 30 mins.   Defendants | 30 mins.   Plaintiffs’ description:
       (In Person)                                                        Observations at the crash site,
                                                                          the taking and sharing of photos
                                                                          at the, the contents of those
                                                                          photos, actions following the day
                                                                          of the crash, cell phone records,
                                                                          experience with human remains,
                                                                          participation in LACFD
                                                                          investigation, and training
                                                                          received.
                                                                          Defendants’ description: Never
                                                                          publicly disseminated crash site
                                                                          photos; and deleted the crash site
                                                                          photos in January 2020.




-26-
                 Case 2:20-cv-09582-JFW-E Document 371 Filed 08/05/22 Page 27 of 40 Page ID #:31269




       WITNESS NAME         PARTY CALLING           X-EXAMINER’S                DESCRIPTION OF                COMMENTS
                             WITNESS AND              ESTIMATE                    TESTIMONY
                              ESTIMATE
29     Marrone, Anthony   Plaintiffs | 45 mins.   Defendants | 45 mins.   Plaintiffs’ description: 30(b)(6)
       (In Person)                                                        testimony regarding LACFD
                                                                          response to the crash site and
                                                                          instructions provided to LACFD
                                                                          personnel regarding photos;
                                                                          personal activities and
                                                                          observations at crash site and
                                                                          responsibilities of his direct
                                                                          reports.




-27-
                 Case 2:20-cv-09582-JFW-E Document 371 Filed 08/05/22 Page 28 of 40 Page ID #:31270




       WITNESS NAME         PARTY CALLING          X-EXAMINER’S                 DESCRIPTION OF                 COMMENTS
                             WITNESS AND             ESTIMATE                     TESTIMONY
                              ESTIMATE
30     McCloud, William Plaintiffs | 90 mins.    Defendants | 45 mins.   Plaintiffs’ description: 30(b)(6)
       (In Person)                                                       testimony regarding LACFD
                                                                         policies or training at the time of
                                                                         the crash related to photography
                                                                         of human remains; the facts,
                                                                         circumstances, and findings of
                                                                         LACFD’s internal investigation;
                                                                         and the extent to which LACFD
                                                                         personnel received discipline;
                                                                         description of the human remains
                                                                         depicted on photographs taken,
                                                                         obtained, and shared by Jordan,
                                                                         Imbrenda, and Kahan; the impact
                                                                         which the actions of Imbrenda,
                                                                         Jordan and Kahan had on the
                                                                         families of the decedents.




-28-
                 Case 2:20-cv-09582-JFW-E Document 371 Filed 08/05/22 Page 29 of 40 Page ID #:31271




       WITNESS NAME         PARTY CALLING           X-EXAMINER’S                DESCRIPTION OF                 COMMENTS
                             WITNESS AND              ESTIMATE                    TESTIMONY
                              ESTIMATE
31     Wells, Jessica     Plaintiffs | 20 mins.   Defendants | 10 mins.   Plaintiffs’ description:
       (In Person)                                                        Observation and discussion of
                                                                          crash site photos displayed at bar
                                                                          in Orange County.
                                                                          Defendants’ description:
                                                                          Defendants have objected to Ms.
                                                                          Wells testifying at trial.




-29-
                 Case 2:20-cv-09582-JFW-E Document 371 Filed 08/05/22 Page 30 of 40 Page ID #:31272




       WITNESS NAME          PARTY CALLING            X-EXAMINER’S                DESCRIPTION OF                 COMMENTS
                              WITNESS AND               ESTIMATE                    TESTIMONY
                               ESTIMATE
32     Westhead, Paul Jr.   Plaintiffs | 50 mins.   Defendants | 15 mins.   Plaintiffs’ description:
       (In Person)                                                          Background of his relationship
                                                                            with Plaintiff Chester,
                                                                            experiences on day of crash,
                                                                            Plaintiff Chester's efforts to
                                                                            preserve privacy of his family
                                                                            after crash, emotional distress
                                                                            suffered by Chester as a result of
                                                                            Defendant's actions.
                                                                            Defendants’ description: Has
                                                                            never seen crash site photos
                                                                            depicting Plaintiff Chester’s
                                                                            relatives; has never been told by
                                                                            Plaintiff Chester that he has seen
                                                                            crash site photos depicting his
                                                                            relatives, and is not aware of any
                                                                            crash site photo depicting
                                                                            Plaintiff Chester’s relatives that
                                                                            has been publicly disseminated.




-30-
                 Case 2:20-cv-09582-JFW-E Document 371 Filed 08/05/22 Page 31 of 40 Page ID #:31273




       WITNESS NAME         PARTY CALLING           X-EXAMINER’S                 DESCRIPTION OF                 COMMENTS
                             WITNESS AND              ESTIMATE                     TESTIMONY
                              ESTIMATE
33     Chester, Chris     Plaintiffs | 90 mins.   Defendants | 60 mins.   Plaintiffs’ description:
       (In Person)                                                        Background on Chester family
                                                                          members, experiences on day of
                                                                          crash, discussions with LASD
                                                                          about security and privacy of
                                                                          crash site; efforts to preserve the
                                                                          privacy of his family and the
                                                                          dignity of his deceased wife and
                                                                          daughter; emotional distress
                                                                          suffered as a result of
                                                                          Defendants' actions.
                                                                          Defendants’ description: Has
                                                                          never seen crash site photos
                                                                          depicting her relatives that he
                                                                          can trace to the County, LASD,
                                                                          or LACFD; no evidence crash
                                                                          site photos were publicly
                                                                          disseminated by Defendants; and
                                                                          is not aware of any crash site
                                                                          photo depicting his relatives
                                                                          being published by the media or
                                                                          made available online.

-31-
                 Case 2:20-cv-09582-JFW-E Document 371 Filed 08/05/22 Page 32 of 40 Page ID #:31274




       WITNESS NAME         PARTY CALLING           X-EXAMINER’S                DESCRIPTION OF                 COMMENTS
                             WITNESS AND              ESTIMATE                    TESTIMONY
                              ESTIMATE
34     Pelinka, Kristin   Plaintiffs | 30 mins.   Defendants | 15 mins.   Plaintiffs’ description: Mrs.
       (In Person)                                                        Bryant’s emotional distress.
                                                                          Defendants’ description: Has
                                                                          never seen crash site photos
                                                                          depicting Plaintiff Bryant’s
                                                                          relatives; has never been told by
                                                                          Plaintiff Bryant that she has seen
                                                                          crash site photos depicting her
                                                                          relatives, and is not aware of any
                                                                          crash site photo depicting
                                                                          Plaintiff Bryant’s relatives that
                                                                          has been publicly disseminated.




-32-
                 Case 2:20-cv-09582-JFW-E Document 371 Filed 08/05/22 Page 33 of 40 Page ID #:31275




       WITNESS NAME         PARTY CALLING          X-EXAMINER’S                DESCRIPTION OF                 COMMENTS
                             WITNESS AND             ESTIMATE                    TESTIMONY
                              ESTIMATE
35     Washington,        Plaintiffs | 30 mins   Defendants | 15 mins.   Plaintiffs’ description: Mrs.
       Sharia                                                            Bryant’s emotional distress.
       (In Person)                                                       Defendants’ description: Has
                                                                         never seen crash site photos
                                                                         depicting Plaintiff Bryant’s
                                                                         relatives; has never been told by
                                                                         Plaintiff Bryant that she has seen
                                                                         crash site photos depicting her
                                                                         relatives, and is not aware of any
                                                                         crash site photo depicting
                                                                         Plaintiff Bryant’s relatives that
                                                                         has been publicly disseminated.




-33-
                 Case 2:20-cv-09582-JFW-E Document 371 Filed 08/05/22 Page 34 of 40 Page ID #:31276




       WITNESS NAME         PARTY CALLING           X-EXAMINER’S                DESCRIPTION OF                COMMENTS
                             WITNESS AND              ESTIMATE                    TESTIMONY
                              ESTIMATE
36     Bryant, Vanessa    Plaintiffs | 90 mins.   Defendants | 90 mins.   Plaintiffs’ description:
       (In Person)                                                        Background regarding Bryant
                                                                          family members, experiences on
                                                                          the day of the crash, discussion
                                                                          with LASD about photography
                                                                          of crash site, emotional distress
                                                                          suffered as a result of
                                                                          Defendants’ actions.
                                                                          Defendants’ description: Has
                                                                          never seen crash site photos
                                                                          depicting her relatives that she
                                                                          can trace to the County, LASD,
                                                                          or LACFD; no evidence crash
                                                                          site photos were publicly
                                                                          disseminated by Defendants; and
                                                                          is not aware of any crash site
                                                                          photo depicting her relatives
                                                                          being publicly disseminated.




-34-
                 Case 2:20-cv-09582-JFW-E Document 371 Filed 08/05/22 Page 35 of 40 Page ID #:31277




       WITNESS NAME         PARTY CALLING            X-EXAMINER’S                DESCRIPTION OF                 COMMENTS
                             WITNESS AND               ESTIMATE                    TESTIMONY
                              ESTIMATE
37     Villanueva, Alex    Defendants | 60 mins.   Plaintiffs | 30 mins.   Conversations with Plaintiffs on
       (In Person)                                                         the day of the crash; his response
                                                                           to the citizen report; his
                                                                           comments to the media; LASD’s
                                                                           investigation; and LASD’s
                                                                           policies and procedures.
38     McGuire, Kristina   Defendants | 45 mins.   Plaintiffs | 20 mins.   Lead investigator from the
       (In Person)                                                         Coroner’s Office responsible for
                                                                           the crash; condition and location
                                                                           of the scene on January 26, 2020;
                                                                           and the removal of the victims’
                                                                           remains.
39     Diez, Justin        Defendants | 30 mins.   Plaintiffs | 15 mins.   LASD’s response to the crash;
       (In Person)                                                         never received or publicly
                                                                           disseminated crash site photos;
                                                                           and LASD’s investigation into
                                                                           the crash site photos.




-35-
                 Case 2:20-cv-09582-JFW-E Document 371 Filed 08/05/22 Page 36 of 40 Page ID #:31278




       WITNESS NAME         PARTY CALLING           X-EXAMINER’S                 DESCRIPTION OF                COMMENTS
                             WITNESS AND              ESTIMATE                     TESTIMONY
                              ESTIMATE
40     Jauregui, Chris    Defendants | 30 mins.   Plaintiffs | 15 mins.   LASD’s response to the crash;
       (In Person)                                                        his receipt of crash site photos
                                                                          while working at the Command
                                                                          Post; his deletion of the crash
                                                                          site photos in January 2020;
                                                                          LASD’s investigation into the
                                                                          crash site photos; deletion of the
                                                                          crash site photos confirmed by
                                                                          the Internal Affairs Bureau; and
                                                                          never publicly disseminated
                                                                          crash site photos.
41     Kelly, Travis      Defendants | 30 mins.   Plaintiffs | 15 mins.   LASD’s response to the crash;
       (In Person)                                                        his receipt of crash site photos
                                                                          while working at the Command
                                                                          Post; his deletion of the crash
                                                                          site photos in January 2020;
                                                                          LASD’s investigation into the
                                                                          crash site photos; deletion of the
                                                                          crash site photos confirmed by
                                                                          the Internal Affairs Bureau; and
                                                                          never publicly disseminated
                                                                          crash site photos.

-36-
                 Case 2:20-cv-09582-JFW-E Document 371 Filed 08/05/22 Page 37 of 40 Page ID #:31279




       WITNESS NAME         PARTY CALLING            X-EXAMINER’S                DESCRIPTION OF            COMMENTS
                             WITNESS AND               ESTIMATE                    TESTIMONY
                              ESTIMATE
42     Kneer, Dennis       Defendants | 30 mins.   Plaintiffs | 20 mins.   LASD’s investigation into the
       (In Person)                                                         crash site photos.

43     Reed, Christopher   Defendants | 15 mins.   Plaintiffs | 10 mins.   LASD’s investigation into the
       (In Person)                                                         crash site photos.




-37-
                   Case 2:20-cv-09582-JFW-E Document 371 Filed 08/05/22 Page 38 of 40 Page ID #:31280




        WITNESS NAME           PARTY CALLING             X-EXAMINER’S                  DESCRIPTION OF                COMMENTS
                                WITNESS AND                ESTIMATE                      TESTIMONY
                                 ESTIMATE
 44     Boese, Robert         Defendants | 30 mins.    Plaintiffs | 15 mins.5   Sergeant Boese will testify about
        (In Person)                                                             LASD’s social media training
                                                                                and policies, including the extent
                                                                                to which LASD personnel have
                                                                                posted photos to its social medial
                                                                                accounts of victims; and whether
                                                                                photos from the January 26,
                                                                                2020 crash depicting Plaintiffs’
                                                                                relatives were posted to LASD’s
                                                                                social media accounts. These
                                                                                topics were covered during
                                                                                Sergeant Boese’s deposition as
                                                                                LASD’s 30(b)(6) witness.
 45     Flores, Mark          Defendants | 60 mins.    Plaintiffs | 30 mins.    LASD’s policies and trainings.
        (In Person)




   5
    Plaintiffs object to Defendants calling Boese as a witness. Defendants never disclosed Boese under Rule 26(a). Defendants
designated Boese on a 30(b)(6) topic, and Plaintiffs deposed him solely in that capacity, having no notice that he was percipient
witness.
-38-
                     Case 2:20-cv-09582-JFW-E Document 371 Filed 08/05/22 Page 39 of 40 Page ID #:31281




        WITNESS NAME            PARTY CALLING           X-EXAMINER’S                 DESCRIPTION OF                COMMENTS
                                 WITNESS AND              ESTIMATE                     TESTIMONY
                                  ESTIMATE
 46     Johnson, Scott        Defendants | 30 mins.   Plaintiffs | 15 mins.6   LASD’s litigation hold and
        (In Person)                                                            preservation. Commander
                                                                               Johnson submitted a declaration
                                                                               on these topics in opposition to
                                                                               Plaintiffs’ motion for spoliation
                                                                               sanctions. (See Dkt. 151-56.)
 47     Smith, Andrew         Defendants | 60 mins.   Plaintiffs | 20 mins.    LACFD’s response to the crash;
        (In Person)                                                            his actions following the day of
                                                                               the crash; instructions he
                                                                               received from supervisors and
                                                                               what he observed; training he
                                                                               received; and LACFD’s
                                                                               investigation.
 48     Kim, Julia            Defendants | 30 mins.   Plaintiffs | 15 mins.    LACFD’s litigation hold and
        (In Person)                                                            preservation.




   6
    Plaintiffs object to Defendants calling Scott Johnson as a witness. Defendants never disclosed Scott Johnson under Rule
26(a), and Plaintiffs never deposed him, having no notice that he was percipient witness.
-39-
                     Case 2:20-cv-09582-JFW-E Document 371 Filed 08/05/22 Page 40 of 40 Page ID #:31282




           WITNESS NAME           PARTY CALLING             X-EXAMINER’S                  DESCRIPTION OF                COMMENTS
                                   WITNESS AND                ESTIMATE                      TESTIMONY
                                    ESTIMATE
49        Price, Justin         Defendants | 30 mins.     Plaintiffs | 20 mins.     Kroll’s neutral forensic
          (In Person)                                                               examination of LASD and
                                                                                    LACFD devices.
50        Cohen, Marc           Defendants | 60 mins.     Plaintiffs | 60 mins.     Mrs. Bryant’s and Mr. Chester’s
          (In Person)                                                               emotional distress.

51        Breshears, Dennis     Defendants | 30 mins.     Plaintiffs | 15 mins.     LACFD’s response to the crash;
          (In Person)                                                               his actions following the day of
                                                                                    the crash; instructions he
                                                                                    received from supervisors and
                                                                                    what he observed; training he
                                                                                    received; and LACFD’s
                                                                                    investigation.
52        Shaw, Richard         Plaintiffs | 60 mins.     Defendants | 60 mins      Plaintiffs anticipate calling Dr.
          (In Person)7                                                              Shaw in their rebuttal case to
                                                                                    rebut the opinions of Dr. Cohen.




   7
       Plaintiffs reserve the right to call additional rebuttal witnesses depending on Defendants’ case.
-40-
